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     Telephone: (916) 447-1200
 4
     Attorney for Defendants
 5   BRIAN BASTI
     FRANK BASTI
 6
 7                  IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )      Case No. CR.S-05-014 DFL
                                     )
11                   Plaintiff,      )
                                     )
12        v.                         )      STIPULATION AND PROPOSED ORDER
                                     )      TO CONTINUE DATE TO SURRENDER
13   BRIAN BASTI and                 )      FOR SERVICE OF SENTENCE
     FRANK BASTI,                    )
14                                   )
                     Defendants.     )
15   _______________________________ )
16        IT IS HEREBY stipulated between the United States of
17   America through its undersigned counsel, Matthew C. Stegman,
18   Assistant United States Attorney, together with counsel for
19   defendants, Kevin D. Clymo, that the previously set surrender
20   date of October 6, 2005 be continued to October 20, 2005.
21        This continuance is requested to allow the defendants the
22   opportunity to surrender to a designated institution rather than
23   to the Sacramento United States Marshal’s Office.         The
24   defendants have not been designated to an institution for
25   service of sentence and as of October 3, 2005 the Sacramento
26   United States Marshal’s Office had not received designation
27   information from the Bureau of Prisons.
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 1   IT IS SO STIPULATED.
 2   Dated: October 3, 2005                         s/Kevin D. Clymo
                                                  KEVIN CLYMO
 3                                                Attorney for Defendants
                                                  Brian Basti
 4                                                Frank Basti
 5
 6   Dated: October 3, 2005                       McGREGOR W. SCOTT
                                                  United States Attorney
 7
 8                                          by:     s/Matthew C. Stegman1
                                                  MATTHEW C. STEGMAN
 9                                                Assistant U.S. Attorney
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            Kevin D. Clymo has obtained authorization to sign on behalf of Matthew
28   C. Stegman

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 1                                    ORDER
 2        GOOD CAUSE APPEARING, it is hereby ordered that the October
 3   6, 2005 surrender date be continued to October 20, 2005 in order
 4   to allow the defendants the opportunity to surrender to a
 5   designated institution.
 6   Dated: 10/03/2005                        /s/ David F. Levi
                                              DAVID F. LEVI
 7                                            United States District Judge
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